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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                     - -   -   -   X

UNITED STATES OF AMERICA                               SEALED
                                                       INDICTMENT
          -   V.   -
                                                       20 Cr.
ARTHUR HAYES,
BENJAMIN DELO,
SAMUEL REED, and
GREGORY DWYER,
                                           20:cRIM 500
                           Defendants.

                                                   X

                                   COUNT ONE
                       {Violation of the Bank Secrecy Act)

          The Grand Jury charges :

                                    Overview

     1.   At all times relevant to this Indictment, BitMEX, or

the "Bitcoin Mercantile Exchange," has operated as an online

trading platform through the website wwww.bitmex.com. BitMEX

solicits and accepts orders for trades in, among other things,

futures contracts and other derivative products tied to the

value of cryptocurrencies including Bitcoin.               BitMEX accepts

Bitcoin to margin and guarantee its derivative products, and as

of at least in or about March 2017, has offered its customers up

to 100 times leverage on certain of its products.

     2.   Since its launch in Novembe r 2014 and continuing up t o

and including the present, BitMEX has activ ely sought to, and
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has in fact,   served thousands of customers located in the United

States, even after purportedly withdrawing from the U.S. market

in or about September 2015.

     3.    By engaging in the foregoing activities, BitMEX has at

all relevant times been a futures commission merchant ("FCM")

required to comply with the Bank Secrecy Act, 31 U . S.C. § 5311,

et seq.   (the "BSA") .

     4.    From at least in or about September 2015 and

continuing up to and including the present, ARTHUR HAYES,

BENJAMIN DELO, SAMUEL REED, and GREGORY DWYER, the defendants,

in their respective roles as executives of BitMEX, willfully

failed to establish, implement, and maintain an adequate anti-

money laundering ("AML") program, including an adequate customer

identification program, more commonly referred to as a know your

customer ("KYC") program, for BitMEX, in violation of the BSA.

                          BSA Requirements

     5.     The Bank Secrecy Act, as amended by the Patriot Act of

2001, is designed to "prevent, detect, and prosecute

international money laundering and the financing of terrorism."

31 U.S.C. § 5311. The BSA imposes reporting, recordkeeping, and

controls requirements on covered "financial institutions," which

include futures commission merchants that are required to



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register as such under the Commodity Exchange Act (the "CEA").

31 u.s.c.    §   5312 (c).

        6.   The CEA requires an entity to register as an FCM with

the United States Commodity and Futures Trading Commission (the

"CFTC") if it solicits or accepts orders for commodity futures

contracts, swaps, or retail commodity transactions (among other

specified products), and in or in connection with such activity

accepts any money or property to margin, guarantee, or secure

any trades or contracts that result or may result therefrom.

Bitcoin and other virtual currencies are "commodities" under the

CEA .

        7.   Under the · BSA, an FCM must establish an AML program

that is approved by senior management and that includes, at a

minimum: "policies, procedures, and internal controls reasonably

designed to prevent the financial institution from being used

for money laundering or the financing of terrorist activities";

independent compliance testing; ongoing training for appropriate

personnel; and "risk-based procedures for conducting ongoing

customer due diligence."         See 31 U.S.C.   §   5318(h) (1); 31 C.F.R.

§ 1026.210.       FCMs must also file suspicious activity reports

("SARs") including for transactions involving funds or other

assets of at least $5,000 if the FCM knows, suspects, or has



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reason to suspect, among other things, that the transaction

involves funds derived from illegal activity or that the FCM is

being used to facilitate criminal activity.      See 31 C.F.R. §

1026.320.

     8.      As part of its AML program, an FCM must implement a

written KYC program that includes "risk-based procedures for

verifying the identity of each customer to the extent reasonab l e

and practicable."     This KYC program must enable an FCM to "form

a reasonable belief that it knows the true identity of each

customer."     At a minimum, an FCM must collect the name, date of

birth, address, and government identification number of each

customer prior to account opening, and must take steps to verify

that information in a reasonable time.     The KYC program must

also include procedures for "determining whether a customer

appears on any list of known or suspected terrorists or

terrorist organizations issued by any Federal government

agency."     See 31 u.s.c. § 5318(1); 31 C.F.R. § 1026.220.

                    The Defendants' Roles at BitMEX

     9.      ARTHUR HAYES, BENJAMIN DELO, and SAMUEL REED, the

defendants ("the Founders"), are the co-founders of BitMEX.            The

Founders founded BitMEX in or about January 2014.           BitMEX began

to support live trading in or about November 2014.



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     10.   BitMEX has at all relevant times been owned and

operated by and through one or more parent companies

(collectively with BitMEX, the "Company") registered in the

Seychelles.   The Company also has subsidiaries and affiliates

registered in the United States and elsewhere that conduct

BitMEX operations and employ staff involved in BitMEX's

operations.   From its founding to the present, the Company has

never had a physical presence in the Seychelles.

     11.   From the founding of the Company continuing up to and

including at least in or about July 2019, the Founders were co-

owners of the Company and collectively held an approximately 90%

ownership share in the Company.

     12.   The Founders have at all relevant times controlled the

Company.   ARTHUR HAYES, the defendant, has been, at all relevant

times, the Chief Executive Officer of the Company.         BENJAMIN

DELO, the defendant, was, from at least March 2015 until at

least January 2018, the Chief Operating Officer of the Company,

and was the Chief Strategy Officer of the Company from at least

September 2018 until May 2019.    SAMUEL REED, the defendant, has

been, at all relevant times, the Chief Technology Officer of the

Company.   GREGORY DWYER, the defendant, is a longtime friend and

former colleague of ARTHUR HAYES, the defendant.       DWYER was



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hired by the Company as its first non-Founder employee in or

about late 2015.   DWYER has served a variety of functions at the

Company including the Head of Business Development.

                             The Company

     13.   From in or about November 2014 and continuing up to

and including at least in or about September 2020, BitMEX has

offered and allowed its customers to trade "Bitcoin futures,"

the value of which are derived by reference to the Bitcoin/u.s.

dollar exchange rate as published on a third-party

cryptocurrency exchange.     At various times since its launch in

or about November 2014, BitMEX expanded its product offering to

include additional futures contracts based on cryptocurrencies

other than Bitcoin and/or the U.S. dollar.

     14.   From in or about May 2016 and continuing up to and

including at least in or about September 2020, BitMEX has also

offered and allowed its customers to trade a "Bitcoin perpetual

swap," the value of which is derived by reference to the

Bitcoin/U.S. dollar exchange rate as published on a third-party

cryptocurrency exchange.

     15.   From in or about November 2014 and continuing up to

and including at least in or about September 2020, BitMEX has

accepted Bitcoin to margin customer trades.       In or about 2015,



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BitMEX offered up to 50 times leverage on certain of its

products.   Since at least in or about March 2017, BitMEX has

offered up to 100 times leverage on certain of its products.         At

all relevant times, margin on BitMEX has been denominated in

Bitcoin.

     16.    From in or about November 2014 and continuing up to

and including at least in or about September 2020, BitMEX has

accepted Bitcoin to guarantee customer trades.      Specifically,

BitMEX operates an "Insurance Fund" that it uses to guarantee

the shortfall in the event that one counter-party to a trade on

BitMEX goes into bankruptcy.    BitMEX pays for its Insurance Fund

by charging its customers a fee on the value of positions that

remain open at the end of each eight-hour trading window.

Because BitMEX transacts with its customers solely in Bitcoin,

this fee to guarantee trade settlement is collected in Bitcoin.

     17.    From in or about November 2014 and continuing up to

and including at least in or about September 2020, BitMEX has

solicited and accepted offers on its cryptocurrency futures and

swaps from customers located in the United States, including

individual retail customers.    As of in or about September 2018,

for example, internal BitMEX records reflected thousands of

BitMEX accounts with United States location information that



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were enabled for trading.

     18.     Because BitMEX is a derivatives exchange that offers

and sells commodity futures and swaps to retail and non-retail

customers in the U.S, and in connection with such offers and

sales accepted property to margin, guarantee, and secure those

trades and contracts, it was required to register with the CFTC

as an FCM.     At no point has BitMEX registered with the CFTC as

an FCM.

     19.     From at least in or about 2017 through in or about early

2019, BitMEX personnel, including GREGORY DWYER and others,

conducted BitMEX operations from an office in Manhattan, New York,

including but not limited to customer support, business

development, and marketing, involving customers located in the

United States and elsewhere.

  The Defendants Deliberately Failed to Implement BSA-Compliant

                    AML and KYC Programs at BitMEX

     20.     ARTHUR HAYES, BENJAMIN DELO, SAMUEL REED, and GREGORY

DWYER, the defendants, in their respective roles as executives

of BitMEX, each willfully caused, aided, abetted, and conspired

to commit violations of the BSA at BitMEX.

     21.     At all times relevant to this Indictment, ARTHUR

HAYES, BENJAMIN DELO, SAMUEL REED, and GREGORY DWYER, the



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defendants, have intended for BitMEX to solicit and accept

customers in the United States, and otherwise operate there,

without complying with U.S. AML and KYC requirements.          By at

least in or about September 2015, the defendants understood that

such AML and KYC requirements would in fact apply to BitMEX if

it served U.S. customers or operated within the United

States.      The defendants thus took affirmative steps purportedly

designed to exempt BitMEX from the application of U.S. laws like

AML and KYC requirements.       For example, the defendants caused

the Company to formally incorporate in the Seychelles, a

jurisdiction they believed had less stringent regulation, and

from which they could still serve U.S. customers and operate

within the United States without performing AML and

KYC.    Indeed, HAYES, the defendant, bragged in or about July

2019 that the Seychelles was a more friendly jurisdiction for

BitMEX because it cost less to bribe Seychellois authorities -

just "a coconut" - than it would cost to bribe regulators in the

United States and elsewhere.

       22.    Those affirmative steps purportedly designed to exempt

BitMEX from the application of U.S. law demonstrate that from in

or about September 2015 and continuing up to and including at

least in or about September 2020, ARTHUR HAYES, BENJAMIN DELO,



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SAMUEL REED, and GREGORY DWYER, the defendants, willfully caused

BitMEX to reject adoption or implementation of BSA-compliant AML

and KYC programs.     For instance, the defendants caused BitMEX to

reject adoption or implementation of formal policies,

procedures, and internal controls for AML; independent

compliance testing for AML; and training for appropriate

personnel in AML.     Because BitMEX has at no relevant time had an

adequate KYC program, BitMEX could not and did not monitor its

customer transactions for money laundering and sanctions

violations.   From its launch in or about November 2014 and

continuing up to and including at least in or about September

2020, BitMEX did not file any SARs reporting suspected illegal

activity on BitMEX.

     23.   The defendants also caused BitMEX to allow customers,

including individual retail customers, to register and trade

without providing sufficient identifying information or

documents to allow BitMEX to form a reasonable belief that it

knows the true identity of its customers.     Prior to in or about

August 2020, customers could register to trade on BitMEX

anonymously, by providing only a verified email address and

without providing any identifying information or documentation.

Indeed, in its initial marketing period in 2015, BitMEX's



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website expressly advertised that "No real-name or other

advanced verification is required on BitMEX."

     24.   As a result of its failure to implement AML and KYC

programs, BitMEX made itself available as a vehicle for money

laundering and sanctions violations.     For example, in or about

May 2018, ARTHUR HAYES, the defendant, was notified of claims

that BitMEX was being used to launder the proceeds of a

cryptocurrency hack.   BitMEX did not implement a formal AML

policy in response to this notification.     Further, internal

BitMEX reports identified that customers located in Iran, who

are subject to U.S. sanctions, traded on the platform from at

least in or about November 2017 through at least in or about

April 2018.   HAYES and BENJAMIN DELO, the defendant, personally

communicated with BitMEX customers who self-identified as

Iranian.   BitMEX did not implement a formal AML policy in

response to this Iranian customer activity.

     25.   From in or about September 2015, when the CFTC issued

public enforcement orders clarifying that cryptocurrencies are

commodities for purposes of the CEA, and continuing up to and

including at least in or about September 2020, each of the

defendants knew that BitMEX could not serve U.S . customers

without complying with U.S. AML and KYC requirements, that



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BitMEX did not have adequate AML and KYC programs, and that

BitMEX in fact continued to serve customers in the United

States.    Each of the defendants willfully caused BitMEX's

failure fail to adopt or implement adequate AML and KYC

programs, or aided and abetted that failure.       Each of the

defendants has at relevant times actively encouraged or allowed

BitMEX to be accessed and used by U.S. customers, and failed to

take steps to effectively restrict U.S. customers from accessing

BitMEX, as described below.

     26.    For instance, ARTHUR HAYES, BENJAMIN DELO, SAMUEL

REED, and GREGORY DWYER, the defendants, knew that specific

customers, residing in the United States, continued to access

BitMEX's platform into in or about 2018, with the knowledge of

HAYES, DELO, REED, and DWYER, each of whom failed to take steps

to deactivate the accounts of these U.S. customers.         DELO and

DWYER knowingly allowed one of these customers to access BitMEX

using a non - u.s. passport in the name of a third party that did

not belong to this customer.     DELO also allowed another customer

to continue to access a BitMEX trading account despite this

customer being "US based," because "[h]e's famous in Bitcoin,"

and falsely changed this customer's internal country of

residence to a country other than the United States.         REED



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allowed a friend of his who he knew resided in the United States

to continue to access BitMEX's platform up to and including at

least in or about October 2018.

     27.    ARTHUR HAYES, BENJAMIN DELO, SAMUEL REED, and GREGORY

DWYER, the defendants, had access to internal BitMEX reports,

which tracked and reported trading revenue by country monthly.

Each and every report from in or about November 2017 through in

or about July 2018 showed U.S. customers trading on BitMEX's

platform.    In a deposition before the CFTC in or about January

2019, REED falsely denied knowing that BitMEX maintained reports

identifying U.S. customers on the platform. In truth and in

fact, in or about December 2018, REED received a report dated in

or about October 2018 which showed trading revenue attributable

to U.S. customers.

     28.    After in or about September 2015, when the CFTC issued

the public enforcement orders clarifying that cryptocurrencies

are commodities for purposes of the CEA, BitMEX announced that

it was withdrawing from the U.S. market.     BitMEX implemented an

internet protocol    ("IP") address check (the "IP Address Check")

purportedly designed to identify and block customers located in

the United States from trading on BitMEX.      But as the defendants

well knew, and as the defendants intended, BitMEX applied the IP



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Address Check on just a single occasion for each customer.         As a

result, if a customer showed a non-u.s. IP Address for the IP

Address Check, that customer could thereafter access and trade

on BitMEX's platform from U.S. IP Addresses.      The defendants

also caused BitMEX to further undermine the effectiveness of the

IP Address Check, by among other methods, providing an anonymous

means of accessing the platform, through the Tor network, a

special Internet network that makes it practically impossible to

physically locate the computers hosting or accessing websites on

the network.   The defendants also caused BitMEX to take no steps

to restrict access of BitMEX via virtual private network ("VPN")

services, which the defendants knew allowed U.S. customers to

circumvent the IP Address Check by making it appear as though

they were accessing BitMEX from outside the United States.         The

defendants also caused BitMEX to implement a policy through at

least in or about September or October 2018 which exempted U.S.

IP addresses - and only U.S. IP addresses - from an internal

term of service rule which putatively blocked BitMEX access from

IP addresses in certain restricted jurisdictions.

     29.   BitMEX also engaged in marketing activities with the

effect and intent of attracting U.S. customers.       ARTHUR HAYES

and GREGORY DWYER, the defendants, regularly attended



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cryptocurrency conferences in New York and elsewhere in the

United States, and had meetings in the United States with

potential and existing customers based in the U.S.            In or about

May 2018, BitMEX rented three Lamborghinis and had them parked

outside of the Consensus Bitcoin conference in Manhattan.

ARTHUR HAYES, the defendant, declared this "stunt" a success
                                                                              t
based on the coverage from U.S. news media.         And in or about

2018, ARTHUR HAYES, the defendant, made repeated appearances on

U.S. television shows with viewership primarily in the United

States during which he promoted BitMEX.

                          Statutory Allegations

     30.      From at least in or about September 2015, up to and

including in or about September 2020, in the Southern District

of New York and elsewhere, ARTHUR HAYES, BENJAMIN DELO, SAMUEL

REED, and GREGORY DWYER, the defendants, did willfully cause a

financial institution to violate the Bank Secrecy Act by failing

to establish, implement, and maintain an anti-money laundering

program that satisfies the minimum standards required by 31

U.S.C.   §§   5318 and 5322, and 31 C.F.R.   §§   1026.210 and 1026.220,

to wit, the defendants caused BitMEX, a futures commission

merchant with U.S. customers, to fail to establish and implement

an anti-money laundering program that includes policies,



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procedures, and internal controls reasonably designed to prevent

BitMEX from being used for money laundering or terrorist

financing; independent compliance testing; ongoing training for

appropriate personnel; and risk-based procedures for verifying

the identity of each BitMEX customer to the extent reasonable

and practicable.

   (Title 31, United States Code, Sections 5318(h) (1) and (1),
5322(a) and (c); Title 31, Code of Federal Regulations, Sections
1026.210 and 1026.220; and Title 18, United States Code, Section
                                  2.)

                             COUNT TWO
            (Conspiracy to Violate the Bank Secrecy Act)

           The Grand Jury further charges:

     31.   The allegations contained in paragraphs 1 through 29

of this Indictment are repeated and realleged as if set forth

fully herein.

     32.   From at least in or about September 2015, up to and

including at least in or about September 2020, in the Southern

District of New York and elsewhere, ARTHUR HAYES, BENJAMIN DELO,

SAMUEL REED, and GREGORY DWYER, the defendants, willfully and

knowingly did combine, conspire, confederate, and agree together

and with each other, and with others known and unknown, to cause

a financial institution to violate the Bank Secrecy Act, in

violation of 31 U.S.C.   §§   5318 and 5322, and 31 C.F.R.    §§




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1026.210 and 1026.220, to wit, the defendants caused BitMEX, a

futures commission merchant with U.S. customers, to fail to

establish and implement an anti-money laundering program that

includes policies, procedures, and internal controls reasonably

designed to prevent BitMEX from being used for money laundering

or terrorist financing; independent compliance testing; ongoing

training for appropriate personnel; and risk-based procedures

for verifying the identity of each BitMEX customer to the extent

reasonable and practicable.

                               Overt Acts

     33.   In furtherance of the conspiracy, and to effect the

illegal objects thereof, ARTHUR HAYES, BENJAMIN DELO, SAMUEL

REED, and GREGORY DWYER, the defendants, together with others

known and unknown, committed the following overt acts, in the

Southern District of New York and elsewhere:

           a.   From at least in or about 2017 through in or about

early 2019, BitMEX personnel, including DWYER and others,

conducted BitMEX operations from an office in Manhattan, New York,

including but not limited to customer support, business

development, and marketing, involving customers located in the

United States and elsewhere.

           b.   From at least in or about September 2015 through at



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least in or about October 2019, HAYES, DELO, REED, and DWYER

allowed particular known customers who resided in the United

States to obtain or maintain access to BitMEX in violation of its

purported U.S. user ban, and DELO and DWYER and others known and

unknown falsified or allowed to be falsified internal BitMEX

records claiming that these customers resided outside of the

United States.

            c.   In or about May 2018, HAYES was notified of

claims that BitMEX was being used to launder the proceeds of a

cryptocurrency hack.    Neither HAYES nor any other BitMEX

employee took any action to implement a formal AML policy in

response.

            (Title 18, United States Code, Section 371.)




                                              nited States Attorney




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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK

                  UNITED STATES OF AMERICA

                               - v. -

                           ARTHUR HAYES,
                          BENJAMIN DELO,
                         SAMUEL REED, and
                          GREGORY DWYER,

                            Defendants.

                         SEALED INDICTMENT

                              20 Cr.

              (31 u.s.c. §§ 5318 (h) (1) and (1),
           5322(a) and (c); 31 C.F.R. §§ 1026.210
            and 1026.220; and 18 U.S.C. §§ 2 and
                            3 71.)




                                    AUDREY STRAUSS
                     Acting United States Attorney.

                            A TRUE BILL

                                              Foreperson.
